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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                                                                      ZC     R f8 !1 10 : 5
                                  SAVANNAH DIVISION

                                      CASE NO. CR405-59


THE UNITED STATES OF AMERICA,

               Plaintiff,

                       V.

MARTIN J. BRADLEY, III; MARTIN J.
BRADLEY, JR.; JOSE A. TRESPALACIOS;
EDWIN RIVERA, JR; ALBERT L.
TELLECI-IEA; MARLENE C. CACERES;
STEPHEN B. GETZ; SARA E. GRIFFIN;
and BlO-MED PLUS, INC.,

               Defendants.
                                                 /

     ORDER GRANTING RECEIVER'S MOTION FOR AUTHORITY TO PAY
  ALLOWED CLAIM OF SUNSET ISLAND HOMEOWNER'S ASSOCIATION, INC.

       THIS CAUSE came before the Court upon the Receiver's Motion For Authority to Pay

Allowed Claim of Sunset Island Homeowner's Association, Inc. (the "Motion"). The Motion,

having been filed with this Court and duly served upon all interested parties; and the Court,

having reviewed the Motion and good cause appearing therefore, it is hereby

ORDERED AND ADJUDGED that the Motion is GRANTED as follows:

       I.      The Receiver is authorized to distribute $36,461.58 to Sunset Island Homeowner's

Association, Inc. for payment of its Proof of Claim.

This IS day of March, 2008.


                                                      EDENFIEL
                                                  D STATES DIS RICT COURT
                                             SOUTHERN DISTRICT OF GEORGIA
